Case 1:21-cv-22445-KMM Document 42 Entered on FLSD Docket 08/23/2021 Page 1 of 3



                         UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA
  __________________________________________
                                            )
  DONALD J. TRUMP, et al.,                  )
                                            )
                    Plaintiffs,             )
                                            )
              v.                            )  No. 1:21-cv-22445-KMM-LFL
                                            )
  YOUTUBE, LLC, et al.                      )
                                            )
                    Defendants.             )
  __________________________________________)

                  UNITED STATES OF AMERICA’S NOTICE REGARDING
                       AUGUST 20, 2021 ORDER OF THE COURT

         The United States of America respectfully submits this notice regarding the Court’s August

  20, 2021 Minute Order, ECF No. 41, which granted the United States’ Motion to Stay Intervention

  Deadline, ECF No. 37. The Minute Order also stated in part:

         In the Government’s Motion [37], the Government informs the Court that it has
         conferred with Plaintiffs’ counsel as to a briefing schedule for an anticipated motion
         for a preliminary injunction. Thus, the Government and Plaintiffs are hereby
         INSTRUCTED to inform the Court as to any agreement reached with respect to
         how long it will take for the Government to respond to any forthcoming motion, if
         it so chooses.

         The United States clarifies that it has not yet conferred with Plaintiffs’ counsel about a

  briefing schedule for Plaintiffs’ anticipated motion for preliminary injunction. The United States’

  Motion to Stay Intervention Deadline noted that counsel for the United States intend to discuss the

  preliminary injunction motion with the parties, ECF No. 37, at 2 n.1, but the parties have not yet

  conferred because counsel for Defendants have not yet appeared in this action and the preliminary

  injunction motion has not yet been filed. If and when the United States reaches any agreement

  with the parties concerning scheduling in this matter, the United States will ensure that the Court

  is promptly notified of such agreement.
Case 1:21-cv-22445-KMM Document 42 Entered on FLSD Docket 08/23/2021 Page 2 of 3



  Date: August 23, 2021        Respectfully submitted,

                               MICHAEL D. GRANSTON
                               Deputy Assistant Attorney General

                               ERIC WOMACK
                               Assistant Branch Director

                               /s/_Joshua Kolsky_____
                               JOSHUA KOLSKY
                               Trial Attorney
                               D.C. Bar No. 993430
                               United States Department of Justice
                               Civil Division, Federal Programs Branch
                               1100 L Street NW Washington, DC 20005
                               Tel.: (202) 305-7664
                               Fax: (202) 616-8470
                               E-mail: joshua.kolsky@usdoj.gov

                               Attorneys for the United States




                                         2
Case 1:21-cv-22445-KMM Document 42 Entered on FLSD Docket 08/23/2021 Page 3 of 3




                                        Certificate of Service

         I hereby certify that this document filed through the ECF system will be sent electronically

  to the registered participants as identified on the Notice of Electronic Filing on August 23, 2021.

                                                /s/ Joshua Kolsky
                                                    Joshua Kolsky




                                                   3
